Case 24-50792-hlb Doc 1067 Entered 12/18/24 15:55:35 Page 1 of 10

NYB 3001 (Effective 1/21}
UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF NEVADA giie.e) ine

Name of Debtor: Case Number:

META MATERIALS, INC 24-50792

J. Name and address of holder of the Equity Interest (the person or entity

holding an Equity Interest in the Debtor. Referred to hereinafter as the O1 Check box if you are aware that anyone
“Interest holder’): else has filed a proof of interest relating to RECEIVED
JENNIFER WILLIAMS your interest. Attach copy of statement AND FILED
giving particulars.

404 WHEATLEY DR ll Check box if you have never received DEC 1 7 2024

any notices from the bankruptcy courtor

the Debtors in this case. U.S.| BANKRUPTCY COURT
EASTON, MD 21601 C1 Check box ithis address dts fo MARY A, SCHOTT, CLERK

Telephone Number: the address on the envelope sent to you by

410-829-3367 the Debtors

NOTE: This form SHOULD NOT he used: to make’ a claim

st the Debtor for money ‘owed. A separate Proof of Claim

Tntérest is any right’ arising ‘from ally <apital stock and any. equity. security i in ‘any of the Debtor. ‘Aue quity security i is defined
in the Bankruptcy Code-as (a) a share in a corporation whether or-not transferable ér denominated stock or similar* - COURT USE ONLY
security, (b) interést of a limited partner in a limited partnership, or (c) warrant or right other than a-right to convert, to
purchase, sell, of subscribe to a share, security, ar interest of a kind spécified in subsection (a) or (b) herein.

Account or other number by which Interest holder identifies Debtor: Check here if this claim:
Cl replaces a previously filed Proof of Interestdated:
675 ] -795 3 C1 amends a previously filed Proof of Interestdated:

2. Name and Address of any person or entity that is the record holder for 3. Date Equity Interest was acquired:
the Equity Interest asserted in this Proof of Interest:

JENNIFER WILLIAMS Between 06/14/2021 - 09/23/2022
Charles Schwab & Co., Inc. Omaha Operations Center 200 5 108th Ave Omaha, NE 68154

Telephone Number: 800-435-4000 ' SEE ATTACHED DOCUMENTATION

4, Total amount of member interest:_Cumeatly @ shares / Loss of $9,955.39 5. Certificate number(s); N/A

6. Type of Equity Interest:
Please indicate the type of Equity Interest you hold:
i Check this box if your Equity Interest is based on an actual member interest held in the Debtor.
D1) Check this box if your Equity Interest is based on anything else and describe that interest:
Description: INVESTOR

7. Supporting Documents: Attach copies of supporting documents, such as stock certificates, option agreements, warrants, ec.
DO NOT SEND ORIGINAL DOCUMENTS. If the documents are not available, explain. If the documents are voluminous, attach a summary.

8. Date-Stamped Capy: To receive an acknowledgement of the filing of your Proof of Interest, enclose a stamped, self-addressed envelope and copy of this Proof of

Interest.
9, Signature:
Check the approprtate box.
@ lam thecreditor. O 1am the creditor's authorized agent. © 1am the trustee, or the debtor, C1 lam a guarantor, surety, endorser, or othercodebtor.
(Attach copy of power ofattomey, ifany.) or their authorized agent. (See Bankruptcy Rule 3005.)

(See Bankruptcy Rule 3004.)
I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge, information, and reasonable belief.

iahe | 2¢

(Date)
JENNIFERW@GOEASTON.NET

Print Name:
Title:
Company: Address and telephone number (if different from notice
address above):

email:

Penalty for presenting fraudulent claim is a fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 AND 33571
PROOF OF INTEREST SUPPLEMENTAL INFORMATION:

Case 24-50792-hlb Doc 1067

CASE: 24-50792, META MATERIALS, INC,

FOR:
BROKER;
ACCT #;

Date
6/14/2021
6/14/2021
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6/14/2021
6/17/2021
6/23/2021

Jennifer Willams

Charles Schwab

6751-7953

**See Transaction documentation attached,

Settlement Date Action

6/26/2021 Buy
6/16/2021 Buy
6/16/2024 Buy
6/16/2021 Buy
6/16/2021 Buy
6/16/2021 Buy
6/16/2021 Buy
6/16/2021 Buy
6/16/2021 Buy
6/16/2021 Buy
6/16/2021 Buy
6/21/2021 Buy
6/25/2021 Sell

Total Invested Before Reverse Splut

6/25/2021
6/29/2021
6/29/2021

7/1/2021
7/12/2021
9427/2021

9/1/2022
8/29/2022

Spin-off
Reverse Split
Reverse Split
7/6/2021 Buy
7144/2021 Buy
9/29/2021 Buy
9/6/2022 Sell
9/27/2022 Sell

Symbal/CUSIP
TACH
TRCH
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59134N203
89102U103
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Quantity Description
1,225.000 TORCHLIGHT ENERGY RE
26.000 TORCHLIGHT ENERGY RE
21.000 TORCHL{GHT ENERGY RE
100.000 TORCHLIGHT ENERGY RE
100,000 TORCHLIGHT ENERGY RE
160.000 TORCHLIGHT ENERGY RE
210.000 TORCHLIGHT ENERGY RE
15.000 TORCHLIGHT ENERGY RE
75,000 TORCHLIGHT ENERGY RE
38,000 TORCHLIGHT ENERGY RE
600,000 TORCHLIGHT ENERSY RE
100.000 TORCHLIGHT ENERGY RE
(1,300,000) TORCHLIGHT ENERGY RE
1,300,000
2,600.000 METAMATLSINC 0% PFOPFD
(1,300,000) TORCHLIGHT ENERGY RE XXXMANDATORY MERGER ~— EFF: 06/28/21
650.000 META MATLS INC
250.000 META MAILS INC
300.000 METAMATLS ING
600.000 METAMATLSINC
(800,000) META MATLS ING
(800.000) META MATLS ING

Entered 12/18/24 15:55:35 Page 2 of 10

Price
$3.55
$3.55
$3,55
$3.55
$3.55
$3.55
$3.55
$3.65
$3.55
$3.55
$3.55
$5.01
$5.91

$0.00
$0.00
$0.00
$7.57
$4.00
$5.96
$0.81,
$0.66

Amount
($4,344.46)
($56.80)
($74,55)
($355.00)
($355.00)
(3355.00)
($745.60)
($53.25)
($265.25)
($134.90)
($2,129.40)
{$509.68)
$7,682.05
($1,688.74)
$0.00
$0.00
$0.00
($1,691.25)
($1,199.97)
($3,574.44)
$724.48
$596.42
($7,033.50)
Case 24-50792-hlb Doc 1067 Entered 12/18/24 15:55:35 Page 3 of 10

) 6751-7953 JENNIFER L WILLIAMS
Indiv 404 WHEATLEY DR
EASTON MD
Total Known Realized Gain/(Loss) $/% Total Known Short-Term Gain/(Loss) Total Known Long-Term Gain/(Loss)
ee a
Total Known Proceeds Total Known Cost Basis
a a
Cost Basis - Reallzed Gainf(Loss) - Filtered by: Year before last Results: 28
Synibo! Name Seld} Acquired i! Quantity Sold Pra Total Cost Basis? “Cort per Short Term = Long Term Total Total % Notes!
a a EE 7 na a a 7 mz
EOE eee eee a
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om EOE Zz m7 m7 7 EE
a 7 =z m7 az na a
EE 7 = m7 7 EE

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Page 1-4] Bate as of 11-004 ET, 12/22/2004
Case 24-50792-hlb Doc 1067 Entered 12/18/24 15:55:35 Page 4 of 10

Symbol Name. , . Sa oma Quantiiy Sold P coats Cost Basis? Cost per Short Term Long Term Total “Total % Notes!
lO lz mz EO
Em! ee ee a az 7 Mmm Oe
a mz mz a mz EO
mE 7 7 i a EE
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= =. mE a mz a7 7 na a Zz
= _, mE a 7 7 a ma 7 =z
= =. mE a aa mz iz ma = Zz

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Page 2+ 4[ Data as.cf LisDOAM ET, 12/12/2024
Case 24-50792-hlb Doc 1067 Entered 12/18/24 15:55:35 Page 5 of 10

Symbol Name soldt eure QuantitySold Total Cost Basls? Cost per Short Term — Leng Term Total =Total % Notes?
- _ 7 =
= Re Ee ee — a
G] MMAT META MATLSINC 09/01/2022 Hide Lots 900.00000 $724.48 $5,820.52 $6.4700 ($3,091.45) ($2,004.59) ($5,096.04) = (87.55%)
09/01/2022 06/14/2021 50.00000 $40.25 $354.83 $7.1000 ($314.58) ($314.58) (68.66%)
09/01/2022 07/01/2071 250,00000 $201.24 $1,891.25 $7.5700 ($1,650.01) ($1,690.01) (89.36%)
09/01/2022 09/27/2021 600.0000 $492.99 $3,574.44 $5.9600 ($3,091.45) ($3,091.45) (86.49%)
Gi MMaT META MATLS INC (09/23/2022 Hide Lots 900.00000 $596.42 $5,455.77 $6.0600 ($4,859.35) ($4,859.35) (89.07%)
09/23/2022 06/14/2021 600.00000 $397.61 $4,255.80 $7.0900 ($3,858.19} ($3,858.19) (90.66%)
09/23/2022 07/12/2021 300,00000 $198.81 $1,199.97 $4.0000 ($1,001.16) ($4001.16) (83.43%)
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Page 3-4 | Data as of 11:00AM ET, 12/17/2004

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Symbol Name Sell ue Aergarel ‘quantity Sol rail Gost Bass Cost per Shoe Farm "emater Total Total % Natest

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eee — a

Ee = oe — a

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Disctosures

The Realized Gain/Loss page provides summary information of closed transactions, Not all closed transactions appear on this page,

We calculate cost basis using data that you or your client have provided ta us of that we have obtained from market data supplied by third party sources. We may also display cost basis data that we have not
calculated but that has been supplied by you or your client, a prior custadian or another third party source.Becausa the accuracy of cost basis data depends upon these third party inputs, we are not able to guarantee
the availability, accuracy or completeness of such cost basis data.

Only covered transactions wili be reported to tha IRS. Schwab doas net provide tax or tegal advice. Please have your clients consult with a tax adviser regarding their specific tax situation.

Footnotes apply where indicated on the data view.
Missing; Indicates cost basis has not been provided for this security.
Not Tracked: Indicates original cost basis is not available.

1. a Data for this holding has been editad or provided by the Advisor,
6 Data for this helding has been edited or provided by the end client.
{ Data for this holding has baen edited or provided by a third party.
u Cost Basis was reported as unknown on the received cost basis report.
w Cost Basis adjusted due to a wash sale,
3. Cost Basis for fixed income securities is now adjusted to reflect amortized/accreted values. Click tha acquired/opened date to view original cost in the Detaifs page. Nota: Some securities, including variable
fate/term insirumants and mortgage backed securities, may only reflect original cost even when the amortization / accrotion preference is on.
8. Total excludes missing cost basis information, or values not tracked by Schwab.
9. Price paid for the security, excluding commission,

(0307-0369)

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6751-7953 JENNIFER L WILLIAMS

Indiv 404 WHEATLEY DR .

EASTON MD
Tr tions filtered by: Last 48 Months | 59134N203 Results: 2
iDate Sottement Action | Quantity Descripfian’: = . . ne ** Price Amount Account Security Type
12/13/2022 , Exchange or §9134N203 (1,500.00000) META MATLS ING 0% PFDPFD $0.0000 $0.00 Equity
06/25/2021 Spin-off 59134N203 2,660.00080 META MATLS INC 0% PFDPFD $0.0000 $0.00 Equity

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cash, net credit or debit balances, and money market funds} offered by Charles Schwab & Co., Inc. (member S|PC) are not deposits or abligations of the Affiliated Banks, are subject to investment risk,
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Corporation, Bank Sweep deposit balances do not include interest that has been accrued since the last interest payment was made to your account. Funds deposited at Affiliated Banks are insured, in
aggregate, up to $250,000 per Affitiated Bank, per depositor, for each account ownership category, by the Federal Deposit Insurance Corporation (FDIC). (0118-7FDH)

Footnotes apply where indicated on the data view.
1 Intra-day transactions are subject ta change. Commissions are calculated at the end of the business day.
2 This value includes only commission from the transaction placed at Schwab. This does not include external transaction that were placed at other broker/dealers (Prime Broker or Trade Away).

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1} Data as of 10:56AM ET. 12/42/2024
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6751-7953 JENNIFER L WILLIAMS
Indiv 404 WHEATLEY DR

EASTON MD
_Transactions filtered by: Last 48 Months | serozut0s : . —_——— _ - Oe veer . —_——— Results;1
(Date: Settlement Action = Symbol BO ‘A Te, Price * | - Amount - Account Security Typo|
06/29/2021 Reverse Split 89102U103 (1.30.00) ETT eee rary RE OXMANDATORY $0.0000 $0.00 Equity
Disclosures

Bank Sweep deposits are held at one or more FOIC-insured banks that are affiliated with Charles Schwab & Co,, Inc, (“Affiliated Banks”}, Securities products and services (including unswept or intra-day
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aggregate, up to $250,000 per Affiliated Bank, per depositor, for each account ownership category, by the Fedaral Dapasit Insurance Corporation {FDIC}. (0118-7FDH)

Footnotes apply where Indicated on the data view.
4 intra-day transactions are subject to change. Commissions are calculated at the end of the business day.-
2 This value includes oniy commission from the transaction placed at Schwab, This does not include externa! transaction that were placed at other broker/dealers (Prime Broker or Trade Away),

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4 1 | Data as of 10:57AM ET, 12/12/2024
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6751-7953 JENNIFER L WILLIAMS
Indiv 404 WHEATLEY DR
EASTON MD

Transactions filtered by: {48 Months | MMAT Results: 6

.. Settlement

[Date + Settle étion _ Symbol "Quantity Deseription: 2" 4-009 “Amount Security Type}
09/23/2022 09/27/2022 Sell 900.00000 META MATLS INC $0.0627 $598.42 Equity
09/01/2022 09/06/2022 Sell 900.00000 META MATLS INC 30.8050 $724.48 Equity
09/27/2021 09/29/2021 Buy 600.0000 META MATLS INC _ $5.9574 ($3,574.44) Equity
o7/i22021  O7f14/2021 Buy MMAT 300.00000 META MATLS INC $3.9999 ($1,199.97) Equity
07/01/2021 07/06/2021 Buy MMAT "250,00000 META MATLS ING 87.5650 ($1,891.25) Equity
08/29/2021 Reverse Split MMAT 850.0000 META MATLS ING 0.0000 $0.00 Equity

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Corporation. Bank Sweep deposit balances do not include interest that has been accrued since the last interest payment was made to your account Punds deposited at Affiliated Banks are insured, in
aggregate, up to $250,000 per Affiliated Bank, per depositor, for each account ownership category, by the Federal Daposit Insurance Corporation (FDIC), (0118-7FDH)

Foatnotes apply where Indicated on the data view.
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6751-7953 JENNIFER L WILLIAMS

Indiv 404 WHEATLEY DR
EASTON MD

Transactions filtered by: Last 48 Months l TRGH err - _ __ _-____ Results: 13
(Date petement Action © Symbol *” se Quantity Deseription . 7 ey - Price», “Amount Account Security Type
06/23/2021 06/25/2021 Sell TRCH 4,300.00000 TORGHLIGHT ENERGY RE $5.9093 $7,682.05 $0.04 Equity
“0817/2021 06/21/2021 Buy TRCH 700.00000 TORCHLIGHT ENERGY RE “ $5.0068 (3500.68) Equity
O8/14/2021 DG6f16/2021 Buy TRGH 1,225.00000 TORCHLIGHT ENERGY RE $3.5465 ($4,344.46) Equity
06/14/2021 08/16/2021 Buy TRGH 76,00000 TORCHLIGHT ENERGY RE $3.5500 ($56.80) Equity
08/14/2021 06/16/2021 Buy TRCH 21.00000 TORCHLIGHT ENERGY RE $3.5500 ($74.55) Equity
06/14/2021 06/16/2021 Buy TRGH 100.00000 TORCHLIGHT ENERGY RE $3,5500 ($355.00) Equity
06/14/2021 96/6/2021 Buy TRCH 100.00000 TORGHLIGHT ENERGY RE $3.5500 ($355.00) Equity
06/14/2021 0646/2021 Buy TRCH 100.00000 TORCHLIGHT ENERGY RE $3.5500 ($355.00) Equity
06/14/2021 O6/M6/2021 Buy TRCH 210.06000 TORCHLIGHT ENERGY RE 33.5500 ($745.50) Equity
G6/14/2021 O68/6/2021 Buy TRCH 15.00000 TORCHLIGHT ENERGY RE $3,5500 ($53.25) Equity
06/14/2021 06/16/2021 Buy TRCH 75,00000 TORGHLIGHT ENERGY RE $3.5500 ($266.25) Equity
06/14/2021 06/16/2021 Buy TRCH 38,00000 + TORCHLIGHT ENERGY RE $3.5500 ($134.90) Equity
06/14/2021 06/6/2021 Buy TRCH 600,.00090 TORGHLEIGHT ENERGY RE $3.5490 ($2,125,40) Equity

Disclosures

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aggregate, up to $250,000 per Affiliated Bank, per depositor, for each account ownership category, by the Federal Deposit Insurance Corporation (FDIC). (01 18-7FDH)

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